                     Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 1 of 15

                                                                                                                             Client Ref.:




In the United States District Court for the Western District of Pennsylvania
                                                                                                Docket Number: 2:20-CV-00966-NR
                                                                                                Filed On: 6/30/2020
Donald J. Trump for President, Inc.
                                                                Plaintiff(s),
vs.

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                           Defendant(s).


State of Pennsylvania: County of Allegheny ss: Ricky DeStefano, being duly sworn, deposes and says: that deponent is not a party to this
action, is over 18 years of age and resides in the State of .Pennsylvania.

That on 7/17/2020 at 12:30 PM., at 542 Forbes Ave, Suite 604, Pittsburgh, PA 15219
Deponent attempted to serve the within Civil Cover Sheet; Local Ru(e 7.1 Disclosure Statement; Praecipe of
Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On David Voye, Allegheny County-Election Division Manager

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Edward Barnard personally, deponent
knew said governmental subdivision so served to be the governmental subdivision described in legal papers and knew said individual to be
Election Office Coordinator /Authorized to aecept service thereof.

DESCRIFTIf~N: Deponent further states that the description of the person actually served is as follows:
Gender: Male Race/Skin: White Age: 22 - 35 Yrs. Weight: 180-200Ibs Height: 5' 9" - 6' 0" Hair. Shaved Other:

Edward accepted and signed for the documents without an issue. He confirrned that he was authorized to accept service.




       ~~MMONWEALTH OF PENNSYLVAMA
                 NOTARIAL SEAL
         Paul R. DeStefano, Notary Publfc
        City of Latrobe, Westmoreland County
        M commi~sien e




Sworn to before me on 7/22/2020
                                                                    ❑~, D
                                                                     - t~. ~.                                     Ric   DeStefano
             r.,,
 OTARY PUBLIC
                                                                                                              PPLS Re # 20-17276
                                                                    D       ~a F
Commission Expiration ,' n          ~c",.1~
                                                       Process Plus Legal Service LLC
                                               2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                      Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 2 of 15

                                                                                                                                     Client £Zcl'. :
                                                          AFF[1)AYIT OF SERVICF,



In the United States District Court for the Western District of~ Pennsylvania
                                                                                                      .Docket Number: 2:20-CV-0096E-NR
-----------------------------------------------------------------------------------------------       Filed On: 6/30/2020
Donald J. 'frump for President, Inc.
                                                                    Pl~intiff(s),
vti.

 K<uhy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                            Defcndant(s).


 State of Pennsylvania: Cotmty of Allegheny ss: Paul R. DeStefai~~o, being duly sworn, deposes and says: tl~iat deponent is i~ot a p~rrry to this
 action, is over l8 years of age and resicles in the State of'Pennsylvania.

'f~hat on 7/l7/2020 at 8:20 An1., at 450 Eust Market Street, Kittanning, PA 16201
Deponent attempted to serve the within Civil Cover Sheet; Local Rule 7.1 Disclosure Statement; Praeeipe of
Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint f'or Declaratory and
la~juncrivc 12elief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion fc►r a Speedy Declaratory Jud~n~cnt and Expedited Discovery
On Jcnni('er Bcllas, Armstrong Countv- Director of Elections

GOVERNMEN"CAL: A governmental suUdivision by delivering thet•eat a true copy ol'each to Jennifer Rellas person~l~y, deponent knew
said ~ovenunental subdivision so served to be the governmentll subdivision described in Icgal papers and knew said individual to be
Armstrong County-Director of F,lections thereof.

DIiSCR.IP-I'[ON: Deponent fiirthcr states that the description of'tl~e rerson actually served is as follows;
Gender: Female Race/Skin: White Age: 22 - 35 Yrs. Weight: 140-1b01bs I~eiglit: 5' 4" - 5' 8" I-lair: Blonde Other:

Jennifer accepted and signed for the documents without an issue.




 COMMONWEALTH OF NNsnva
             NOTARIALSEAI
       Andrea Struhala. Notary PubIIC
 City of Greensburg, Westmorelanq County
   My Commission Expires July 29, 2021
 MEMBER IEJdNSYLY              N N
Sworn to before me on 7/23/2020

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~4'~~~_~~---- -
NO"MARY PUBLIC
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                                                                        ~'~~~;,r
                                                                                                                        Paul R. Dc 'te ano
                                                                                                                     PPLS Ref# 2Q x/277
                                     ---
                                                   Process P(us Legal Service LLC
                                            2800 Tunipike Drive, Suite 1, I-Iatboro, PA 19040
                     Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 3 of 15

                                                                                                                             Client Ref.:




In the United States District Court for the Western District of Pennsylvania
                                                                                               Docket Number: 2:20-CV-00966-NR
                                                                                               Filed On: 6/30/2020
Donald J. Trump for President, [nc.
                                                             Plaintiff(s),
vs.

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                           Defendant(s).


State of Pennsylvania: County of Allegheny ss: Ricky DeStefano, being duly sworn, deposes and says: that deponent is not a party to this
action, is over l8 years of age and resides in the State of Pennsylvania.

That on 7/16/2020 at 2:30 PM., at 810 Third Street, Beaver, Beaver, PA 15009
Deponent attempted to serve the within Civil Cover Sheet; Local Rule 7.1 Disclosure Statement; Pt'aeCpe of
Appearance; Certificate of Service; Summons in a Civil Action; Verified CamPlaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On Dorene Mandity, Beaver County- Director of Elections

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Anthony Harb personally, deponent knew
said governmental subdivision so served to be the governmental subdivision described in legal papers at~d knew said individual to be
Once Coordioalor /Authorized to accept service thereof.

DESCRIPTION: Deponent further states that the description of the person actually served is as follows:
Gender: Male Race/Skin: White Age: 36 - 50 Yrs. Weight: 18~-2001bs Height: S' 9" - 6' d" Hair: Brown Other:

Anthony accepted service without an issue. He confirmed that he was authorized to accept service.




         ~:OMMONWEALTH OF PENNSYLVANIA
                   N07ARIAL SEAL
           Paul R. DeStefano, Notary Public
          City of Latrobe, Westmoreland County
          My commission expires May 20, 2021



Sworn to before me on 7/22f 2020

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                                                                ,,           O         x
NOTAKY PUBLIC                                                                                                PPLS Ref# 20-17278
Commission Expiration 1            Z~ ~
                                                    Process Plus Legal Service LLC
                                            2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                     Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 4 of 15

                                                                                                                               Client Ref.:




In the United States District Court for the Western District of Pennsylvania
                                                                                                 Docket Number: 2:20-CV-00966-NR
                                                                                                 Filed On: 6/30/202Q
Donald J. Trump for President, Inc.
                                                              Plaintiffs),
vs

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                           Defendants j.

State of Pennsylvania: County of Allegheny ss: Paul King, being duly sworn, deposes and says: that deponent is not a party to this action,
is over l8 years of age and resides in the State of Pennsylvania.

That on 7/16/2020 at 9:55 A1VI., at 20 E. 5th St, Emporium, PA 15834
Deponent attempted to serve the within Civil Cover Sheet; Local
                                                       Rule 7,1 Disclosure Statement; Praecipe of
Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint far Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On Brenda G Munz, Cameron County llirector of Elections

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Brenda G Munz personally, deponent
knew said governmental subdivision so served to be the governmental subdivision described in legal. papers and knew said individual to be
Cameron County Director of Elections thereof.

DESCRIPTION: Deponent further states that the description of the person actually served is as follows:
Gender: Female Race/Skin: White Age: 36 - 50 Yrs. Weight: 160-1801bs Height: 5' 0" - 5' 3" Hair: Blonde Other:

Brenda accepted and signed for the documents without an issue.




        C()MMC)NWEAI.TH OP PENNSYLVANIA
                  NOTARIAL SEAL_
          Paul R. DeStefano, Notary Public
         City o1' Latrobe, Westmoreland County
          My commission expires May 20, 2Q21




Sworn to before me on 7/23/2020
                                                                 Q           Q          X                ~" ~~
~~                                                               ~'                                                            Paul King
NOTARY PUBLIC                    ~                                     }                                       PPLS Ref# 20-17286
Commission Expiration       ~ ~v 1 ;
                                                    Process Plus Legal Service LLC
                                            2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                     Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 5 of 15

                                                                                                                               Client Ref.:




In the United States District Court for the Western District of Pennsylvania
                                                                                                 Docket Number: 2:20-CV-00966-NR
                                                                                                 Filed On: b/30/2020
Donald J. Trump for President, Inc.
                                                              Plaintiff(s),
vs.

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                           Defendant(s).


State of Pennsylvania: County of Allegheny ss: Paul King, being duly sworn, deposes and says: that deponent is not a party t4 this action,
is over 18 years of age and resides in the State of Pennsylvania.

That on 7/Ib/2020 at 12:41 PM., at 2l2 E. Locust Street, Clearfield, PA 16830
Deponent attempted to serve the within Civil Cover Sbeet; Local Rule 7.1 Disclosure Statement; Praecipe of
Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On Dawn E. Graham, Clearfield County- Director of Elections

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Dawn E. Graham personally, deponent
knew said governmental subdivision so served to be the governmental subdivision described in legal papers and knew said individual to be
Clea~eld County- Director of Elections thereof.

DESCRIPTION: Deponent further states that the description of the person actually served is as follows:
Gender: Female Race/Skin: White Age: S1- 65 Yrs. Weight: 140-1601bs Height: 5' 4" - 5' 8" Hair: Brown Other:

Dawn accepted and signed for the documents without an issue.




I:UMM(JNWtALPHUF PFNN`,YLvFlNIA
          NOTARIAL. SEAL----.W.
  Paul ft. UeStefanc,. Notary Public
 City of Latrobe, Westmoreland Count
 My commission expires May 20, 2021




Sworn to before me on 7/23j2020
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_                       ,%~
                             a                                    o a~                   X                  ~             Paul King
                     ~~~ ~ ;
NOTARY PUBLIC                                                                                                   PPLS Ref# 20-17291
Commission Expiration 5 '~~,.L .Z                                 a ~'
                                                Process Plus Legal Service LLC
                                        2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                        Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 6 of 15

                                                                                                                               Client Ref.:




(n the United States District Court for the Western District of Pennsylvania
                                                                                                 Docket Number: 2:20-CV-00966-NR
                                                                                                 Filed On: 6/30/2020
Donald J. Trump for President, Inc.
                                                              Plainti ff(s),
vs.

Kathy Boackvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                           Defendant(s).


State of Pennsylvania: County of Allegheny ss: Paul King, being duly sworn, deposes and says: that deponent is not a party to this action,
is over 18 years of age and resides in the State of Pennsylvania.

That on 7/16/2020 at 8:15 A1VI., at 2 Piper Way, Suite 309, Lockhaven, PA 17745
Deponent attempted to serve the within Cirvil Cover Sheet; Lacal Rule 7.1 Disclosure Statement;
                                                                                      Praecipe of
Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On Maria Boileau, Clinton County- Director of Elections and Voter Reg

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Maria Boileau personally, deponent knew
said governmental subdivision so served to be the governmental subdivision described in legal papers and knew said individual to be
Clinton County- Director of Elections and Voter Reg thereof.

DESCRIPTION: Deponent further states that the description of the person actually served is as follows:
Gender: Female Race/Skin: White Age: 51 - 65 Yrs. Weight: 140-1601bs Height: 5' 0" - S' 3" Hair: Brown Other:

Maria accepted and signed far the documents without an issue.




      COMAAONWF.AL fH t)F pENNSYLVAMA
                NOTARIAI wf?AL
        Paul R. DeStefano, i~oiary Public
       City of Latrobe, Westmoreland County
       My commission expires Ma 20, 2021




Sworn to before me on 7/23/2020
                                                                               0
                                                                  ~'"                                                          Paul King

NOTARY PUBLIC         ~                                                                                        PPLS Ref# 20-17292
                                                                               ~f
Commission Expiration J 2 0 ~L t
                                                      Process Plus Legal Service LLC
                                              2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                        Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 7 of 15

                                                                                                                               Client ref.:




In the [lnited States District court for the Western District of Pennsylvania
                                                                                                 Docket Number: 2:20-CV-00966-NR
                                                                                                 Filed On: 6130/2020
Donald J. Trump for President, Inc.
                                                                Plaintiff(s),
VS.

Kathy Boockvaz, in her capacity as Secretary of the Commonwealth of Pennsylvania, et aL
                                                           I~efendant(s}.


State of Yennsyivania: County of Allegheny ss: Paul King, being duly sworn, deposes and says: that deponent is not a party to this action,
is over 18 years of age and resides in the State of Pennsylvania.

That on 7/16/2020 at 11:48 AM., at 300 Center St, Ridgeway, PA 1 S8S3
                                                            7.1 Disclosure Statement; Praecipe of
Deponent attempted to serve the within Civil Cover Sheet; Local Rule
Appearance; Certificate of Service; Summons in a Civic Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Seedy Declaratory Judgment and Expedited Discovery
C)n Kimberly S. Frey, Elk County- Director

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Kimberly S. Frey personally, deponent
knew said governmental subdivision so served to be the governmental subdivision described in legal papers and knew sand individual to be
Elk County- Director thereof.

DESCRIPTION: Deponent further states that the description of the person actually served is as follows:
Gender: Female Race/Skin: White Age: 51 - 65 Yrs. Weighs: 140-1601bs Height: 5' 4" - .5' S" Bair. Brown Other:

Kimberly accepted and signed for the documents without an issue.




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                 NO'I"ARIAL SEAL
       i-~aui R. [7eStefana, Not~u-~ Public
      f_1~Y ~i'Latrobe, Westmoreland County
      N1y commission expires May 2U, 2U21



Sworn to before me on 7/23/2020

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NOTARY PUBLIG                           ,
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                                                                                                                PPLS Ref# 20-1729$
Commission Expiration ~ 12v ZP
                                                        Process Plus Legal Service LLC
                                                2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                     Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 8 of 15

                                                                                                                              Client Re£:




[n the United States District Court for the Western District of Pennsylvania
                                                                                                  Docket Number: 2:20-CV-00966-NR
                                                                                                  Filed On: 6/30/2020
Donald J. Trump for President, Inc.
                                                                 Plaintiffs),
vs.

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pem~sylvania, et al.
                                                                    Defendant(s).
-----------------------------------------------------------------------------------------------
State of Pennsylvania: County of Allegheny ss: Paul R. DeStefano, being duly sworn, deposes and says: that deponent is not a party to this
action, is over 18 years of age and resides in the State of Pennsylvania.

That on 7/16/2020 at 2:10 PM., at 22 E. Maio Street, Uniontown, PA 15401
Deponent attempted to serve the within Civil Cover Sheet; LOC81 Rule 7.1 DiSClosut'e St~t~meIIt; Prdecipe of
Appearance; Certificate of Service; Summons in a Civil Acdan; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
{Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On Larry Blosser, Fayette County- Director

GOVERNMENTAL: A governmental subdivision by delivering thereat a Uue copy of each to Melissa Rexrocle personally, deponent
knew said governmental subdivision so served to be the governmental subdivision described in legal papers and knew said individual to be
Assistant /Authorized to accept service thereof.

DESCRIPTION: Qeponent further states that the description of the person actually served is as follows:
Vender: Female Race/Skin: White Age: 22 - 35 Yrs. Weight: 120-1401bs Height: 5' 4" - 5' 3" Hair: Brown Other:

Melissa accepted and signed for the documents without an issue. She confirmed that she was authorized to accept service.




CQMMONWEALTH OF PENNSYLVANIA
             NOTARIALSEAL
      Andrea Struhala, Notary Public
Ciry of Greensburg, Westmoreland County
 My Commission Expires July 28, 2021
b~J.18ER,►ENNSYIY            M

Sworn to before me on 7/22/2020
                                                                     ~•         0            X             r
                                                                                ~                                   Paul R. De efano
NOTARY PUBL                f ,1' ~   .~ v ~ ~ 2'                     '0 ~                                      PPLS Ref# 20-17300
Commission Expiration      l~          bL
                                                    Process Plus Legal Sezvice LLC
                                            2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                     Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 9 of 15

                                                                                                                               Client Ref.:




In the United States District Court for the Western District of Pennsylvania
                                                                                                 Docket Number: 2:20-CV-0096b-NR
                                                                                                 Filed On: 6/30!2020
Donald J. Trump for President, [nc.
                                                              Plaintiff(s),
vs.

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                           Defendant(s).


State of Pennsylvania: County of Allegheny ss: Paul R. DeStef'ano, being duly sworn, deposes and says: that deponent is not a party to this
action, is over 18 years of age and resides in the State of Pennsylvania.

That on 7/16!2020 at 1:04 PM., at Greene Co. Office Building, 93 East Higb St.lst Fl, Room 102, Waynesburg, PA 15370
peponent attempted to serve the within Civil Cover Sheet; Local Rule 7.1 Disclosure Statement; Praecipe of
Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
Un Tina Kiger, Greene County- Director of Elections

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Rachel D. GiUispie personally, deponent
knew said governmental subdivision so served to be the governmental subdivision described in legal papers and knew said individual to be
Assistant /Authorized to accept service thereof.

DESCRIPTION: Deponent further states that the description of the person. actually served. is as follows:
Gender: Female Race/Skin: White Age: 22 - 35 Yrs. Weight: 120-1401bs Neight: 5' 4" - 5' 8" Hair: Brown Other:

Rachel accepted and signed for the documents without an issue. She confirmed that she was authorized to accept service.




 COMMONWEALTH OF PENNSYLVANIA

~            NOTARIALSEAL
      Andrea Struhala. Notary Public
C~~y o~ Greensburg. Westmoreland County
  Aty Commission Expires July 28, 2021
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Sworn to before me on 7/22/2020
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NOTARY PUBL C                      ~~~                            ~ '~~o
Commission Expiration~~~,~
                                                  Process Plus Legal Service LLC
                                          2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                    Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 10 of 15

                                                                                                                              Client Ref.:



In the United States District Court for the Western District of Pennsylvania
                                                                                                Docket Number: 2:20-CV-00966-NR
                                                                                                Filed On: 6/30/2020
Donald J. Trump for President, [nc.
                                                             Plaintiff(s),
vs.

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                           Defendant(s).


State of Pennsylvania: County of Allegheny ss: Paul R. DeStefano, being duly sworn, deposes and says: that deponent is not a party to this
acrion, is over 18 years of age and resides in the State of Pennsylvania.

That on 7/15/2020 at 3:30 PM., at 825 Philadelphia, St, Indiana, PA 15701
Deponent attempted to serve the within Civil Cover Sheet; Local Rule 7.1 Disclosure Statement; Praecipe of
Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On Debrah Streams, Indiana County- Director

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Debrah Streams personally, deponent
knew said governmental subdivision so served to be the governmental subdivision described in legal papers and knew said individual to be
Director thereof.

DESCRIPTION: Deponent further states that the description of the person actually served is as follows:
Gender: Female Race/Skin: White Age: 51 - 65 Yrs. Weight: 140-1601bs Height: 5' 0" - 5' 3" Hair: Brown Other:

Debrah accepted and signed for the documents without an issue.




GOMMONWEAITH OF PENNSYLVANIA
             NOTARIAL SEAL
       Andrea Struhala. Notary Public
 City of Greensburg. Westmoreland County
   My Commission Expires July 28, 2021
bIEMSER~ YlY                 I    N Q


Sworn to before me on 7/22/2020
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                                                                  ~                                              Paul R.~eStefano
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NOTAR~L C                               (~                            ~      a                                PPLS Ref# 20-17306
                                                                 D
Commission Expiration              ~~ ~ U ~ I
                                                   Process Plus Legal Service LLC
                                           2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                     Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 11 of 15

                                                                                                                            Client Ref.:




In the United States District Court for the Western District of Pennsylvania
                                                                                                  Docket Number: 2:20-CV-00966-NR
                                                                                                  Filed On: 6/30/2020
Donald J. Trump for President, [nc.
                                                                 Plaintiff(s),
vs.

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                                    Defendant(s).
-----------------------------------------------------------------------------------------------
State of Pennsylvania: County of Allegheny ss: Ricky DeStefanq being duly sworn, deposes and says: that deponent is not a party to this
action, is over 18 years of age and resides in the State of Pennsylvania.

That on 7/16/2020 at i I :15 AM., at 430 Court Street, New Castle, PA 16101
                                                                Disclosure Statement; Praecipe of
Deponent attempted to serve the within Civil Cover Sheet; Local Rulc 7.1
Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On L. Edward Allison, Jr, Lawerance County- Director- Board of Elections

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Tim Germany personally, deponent knew
said governmental subdivision so served to be the governmental subdivision described in legal papers and knew said individual to be
Elections Tech Manager i Authorized to accept service thereof.

DESCRIPTION: Deponent fimher states that the description of the person actually served is as follows:
Gender: Male Race/Skin: White Age: 45 - 55 Yrs. Weight: 240-2601bs Height: 5' 4" - 6' 0" Hair: Black/Gray Other:

Tim accepted service without an issue. He confirmed that he was authorized to accept service.




          CUIv1M(:)NWEALTH OF PENNSYLVANIA
                    NOTA.RIA,I., SEAL
            Paul R. DeStefano, Notary Public
           Ciry of Latrobe, Westmoreland County
           My commission ex Tres Ma 2U, 2021




Sworn to before me on 7/22/2020
                                                                      o+ o
                                                                     ~~ ~ ~+.                                    Ricky eStefano
NOTARY PUBLIC         ^                                              ❑; °                                    PPLS Ref# 0-17311
Commission Expirarion S                  4
                                                     Process Plus Legal Service LLC
                                             2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                        Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 12 of 15

                                                                                                                               Client Ref.:




In the United States District Court for the Western District of Pennsylvania
                                                                                                 Docket Number: 2:20-CV-00966-NR
---------------------------------------                                                          Filed On: 6/3012Q20
Donald J. Trump for President, Inc.
                                                                 Plaintiff(s),
vs.

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                           Defendant(s).


State of Pennsylvania: County of Allegheny ss: Paul King, being duly sworn, deposes and says: That deponent is not a party to this action,
is over 18 years of age and resides in the State of Pennsylvania.

That on 7/16/2020 at 10:37 AM., at 500 W. Main St, Smethport, PA 16749
Deponent attempted to serve the within Civil Cover Sheet; Local Rule
                                                             7.1 Disclosure Statement; Praecipe of
Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On Lisa M. Pratt, McKean County- Director of Elections

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Lisa M. Pratt personally, deponent knew
said governmental subdivision so served to be the governmental subdivision described in legal papers and knew said individual to be
McKean County- Director of Elections thereof.

DESCRIPTION: Deponent further states that the description of the person actually served is as follows:
Gender: Female Race/Skin: White Age: 36 - 50 Yrs. Weight: 120-1401bs Height: 5' 4" - 5' 8" Hair: Brown Other:

Lisa accepted and signed for the docu►nents without an issue.




      COMMONW~A(,'P}~{ OF PENNSYLVANIA
                NQTARIAL SEAT.
        Paul R. UeStefano. Notary Public
       City of Latrobe, Westmoreland County
       My commission expires May 20, 2021




Sworn to before me on 7/23J2020                                                                                         / ~
                                                                                         X       ~                    L/
                 ~~~~~
                                                                     o~ a                                                 Paul King
 i                                                                                                              PPLS Ref# 20-17316
NOTARY PUBLIC
Commission Expiration               '.c   ~_ ~                       o ...
                                                         Process Plus Legal Service LLC
                                                 2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                     Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 13 of 15

                                                                                                                               Client Ref.:




In the United States District Court for the Western District of Pennsylvania
                                                                                                 Docket Number: 2:20-C V-00966-NR
                                                                                                 Filed On: 6/30/2020
Donald J. Trump for President, inc.
                                                              Ptaintiff(s),
vs.

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                           Defendant(s).


State of Pennsylvania: County of Allegheny ss: Paul R. DeStefano, being duly sworn, deposes and says: that deponent is not a parley to this
acrion, is over 18 years of age and resides is the State of Pennsylvania.

That on 7/13!2020 at 1:10 PM., at 300 N Center Ave, Ste 340, Somerset, PA 15501
Deponent attempted to serve the within Civil Cover Sheet; Local Rule 7.1 Disclosure
                                                                          Statement; Praecipe of
Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On Tina Pritts, Somerset County- Director of Elections

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Tina Pritts personally, deponent knew said
governmental subdivision so served to be the governmental subdivision described in legal papers and Irnew said individual to be Somerset
County- Director of Elections thereof.

DESCRIPTION: Deponent further states trial the description of the person actually served is as follows:
Gender: Female Race/Skin: White Age: 51 - 65 Yrs. Weight: 140-1601bs Heigt►t: 5' 4" - 5' 8" Hair: Brown Other:

Tina accepted service without an issue.




COMM~NWEAL.TH OF PENNSYLVANIA
              NOTARIAL SEAL
       Andrea Struhala. Notary Public
City of Greensburc,, Westmoreland County
   Aty Commission Expires July 28.2021
►,~JdgEF~ pENNSYLY        u a

Sworn to before me on 7/23/2020
                                                                                         X                 ~;
                                                                  D           D
                                                                  ~           ~                                      Paul R.    e tefano
NOTARY 11 L C        ` at , 1 ~~~D                                                                              PPLS Ref# 2b=17334
Commission E~iration~V~ 1                                        D
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                                                   Process Plus Legal5ervice LLC
                                           2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                     Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 14 of 15

                                                                                                                               Client Ref.:




 In the United States District Court for the Western District of Pennsylvania
                                                                                                     Docket Number: 2:20-CV-0096b-NR
 -----------------------------------------------------------------------------------------------     Filed On: 6/30/2020
 Donald J. Trump for President, Inc.
                                                                     Plainiiff(s),
 vs.

 Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
                                                            Defendant(s).


 State of Pennsylvania: County of Allegheny ss: Paul K. DeStefano, being duly sworn, deposes and says: that deponent is not a party to this
 action, is over 18 years of age and resides in the State of Pennsylvania.

 That on ?/1.6/2020 at 12:30 PM., at 100 W Beau Street, Ste 206, Washington , PA 1S3Q1
 Deponent attempted to serve the withi❑ Civil Cover SheQt; Locat Rule 7.1 Disclosure Statement; Praecipe of
 Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
 Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
 (Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
 On Melanie R Ostraner, Washington County- Director of Elections

 GOVERNMENTAL: A govemmental subdivision by delivering thereat a true copy of each to Troy Breese personally, depone~zt knew
 said governmental subdivision so served to be the govemmentat subdivision described in legal papers and knew said individual to be
 Office Assistant /Authorized to accept service thereof.

 DESCRIPTION: Deponent further states that the descriprion of the person actually served is as follows:
 Gender: Male Race/Skin: White Age: 36 - 50 Yrs. Weight: 2001bs+ Height: S' 4" - S' 8" Hair: Blonde !Red Other:

 Troy accepted and signed for the docutnenis without an issue. He confirmed that he was authorized to accept service.




COMMONWEALTH OF PENN YLVANIA
             NOTARIAL SEAL
      Andrea Struhala, Notary Public
City of Greensburg, Westmoreland County
  MyCommisaionExpires Ju1y28.2021
MEIABEFL rENNS1IV             11 N


Sworn to before me on 7/22/2020
                                                                        D         p                X o~
                                                                                 ,~~                                Paul R DeStefano
NOTAR PUBLI            q                     (~                         ~~                                     PPLS Ref 20-17337
Commission Expiration ' I               ~    lJ ~)
                                                     Process Plus Legal Service LLC
                                             2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
                     Case 2:20-cv-00966-NR Document 178 Filed 07/24/20 Page 15 of 15

                                                                                                                               C{ient Ref.:




In the United States District Court for the Western District of Pennsylvania
                                                                                                 Docket Number: 2:20-CV-00966-NR
                                                                                                 Filed On: 6/30/2020
 Donald J. Trump for President, Inc.
                                                              Plaintiff(s),
vs

 Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvatua, et al.
                                                            Defendant(s).


 State of Pennsylvania: County of Allegheny ss: Paul R. DeStefano, being duly sworn, deposes and says: that deponent is not a party to this
 action, is over 18 years of age and resides in the State of Pennsylvania.

 That on 7/16/2020 at l 1:15 AM., at 2 N. Maio Street, Greensburg, PA 15601
 Deponent attempted to serve the within Civil Cover Sheet; Local Rule 7.1 Disclosure Statement; Praecipe of
Appearance; Cert~cate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;
(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited :Discovery
 On Beth Lechman, Westmoreland County- Director

 GOVERN1vIENTAL: A governmental subdivision by delivering thereat a true copy of each to Heather Sargent personally, deponent
 knew said governmental subdivision so served to be the governmental subdivision described in legal papers and knew said individual to be
 Assistant /Authorized to accept service thereof.

DESCRIPTION: Deponent further states that the description of the person actually served is as follows:
Gender: Female Race/Skin: White Age: Sl - 65 Yrs. Weight: 120-1401bs Height: 5' 4" - 5' 8" Hair: Gray Other:

1-teather accepted and signed for the documents without an issue. She confirmed that she was authorized to accept service.




COMMONWEALTH OF PENNSYWANfA
             NOTARIAL SEAL
      Andrea Struhala, Notary Public
City of Greensburg, WestmorelanC County
 MyCommissian Expires July 28, 2021
MEMBER~NSTW                 SOX
Sworn to before me on 7/22J2020
                                                                  ~           0          X                   r~
                                                                  ~'r         ~                                      Paul R. De fano
         n           '~~                                                                                          PPLS Ref# 2Q-17339
NOTARY PUBLIC         ~            ~~ ~n ~ I
Commission Expiration                  U
                                                                  0~
                                                  Process Plus Legal Service LLC
                                          2$00 Turnpike Drive, Suite 1, Hatboro, PA 19040
